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    7                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
    8
    9
   10   PETER ALBRECHT, Individually         CASE NO. 8:19-cv-00810-DOC-JDE
        and On Behalf of All Others
   11   Similarly Situated,                  SECOND AMENDED CLASS ACTION
                                             COMPLAINT FOR DAMAGES AND
   12                     Plaintiff,         INJUNCTIVE RELIEF FOR
   13        v.                              VIOLATIONS OF THE TELEPHONE
                                             CONSUMER PROTECTION ACT, 47
   14   NATIONAL BANCORP                     U.S.C. § 227, ET SEQ.
        HOLDINGS, INC. d/b/a THE
   15
        FEDERAL SAVINGS BANK, and
   16   FDE MARKETING GROUP, LLC

   17                     Defendants.        JURY TRIAL DEMANDED
   18   ___________________________
   19   NATIONAL BANCORP
   20   HOLDINGS, INC. d/b/a THE
        FEDERAL SAVINGS BANK,
   21
                    Third-party Plaintiff,
   22        v.
   23
        BEST RATE HOLDINGS, LLC,
   24   d/b/a BEST RATE REFERRALS,
   25
        and FDE MARKETING GROUP,
        LLC,
   26
                  Third-party Defendants.
   27
   28

                                  SECOND AMENDED COMPLAINT
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    1
        FDE MARKETING GROUP, LLC,
    2
                   Third-Party Plaintiff,
    3
              v.
    4
        BEST RATE HOLDINGS, LLC,
    5   d/b/a BEST RATE REFERRALS;
    6   ADMK AGENCY, LLC, a
        Wyoming limited liability company,
    7
               Third-Party Defendants.
    8
    9
   10
   11
                                         INTRODUCTION
   12
           1. PETER ALBRECHT (“Plaintiff” or “Mr. Albrecht”) brings this Second
   13
              Amended Class Action Complaint for damages, injunctive relief, and any
   14
              other available legal or equitable remedies, resulting from the illegal actions
   15
              of defendant NATIONAL BANCORP HOLDINGS, INC. d/b/a THE
   16
              FEDERAL SAVINGS BANK (“Federal Savings Bank”) and FDE
   17
              MARKETING GROUP, LLC (“FDE”, or collectively “Defendants”), in
   18
              negligently and/or willfully contacting Plaintiff on Plaintiff’s landline
   19
              telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C.
   20
              § 227, et seq., (“TCPA”), thereby invading Plaintiff’s privacy.
   21
           2. Plaintiff alleges as follows upon personal knowledge as to himself and his
   22
              own acts and experiences, and, as to all other matters, upon information and
   23
              belief, including investigation conducted by their attorneys.
   24
                                 JURISDICTION AND VENUE
   25
           3. This Court has federal question jurisdiction because this case arises out of
   26
              violations of federal law. 47 U.S.C. §§ 227(b) and (c).
   27
           4. Venue is proper in the United States District Court for the Central District of
   28
                                                1
                                  SECOND AMENDED COMPLAINT
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    1        California pursuant to 18 U.S.C. § 1391(b) because a substantial part of the
    2        events giving rise to the claim occurred within this district, as Plaintiff
    3        received several allegedly unlawful calls while residing in the County of
    4        Orange within the State of California.
    5     5. Federal Savings Bank is subject to personal jurisdiction in the County of
    6        Orange, State of California, as Federal Savings Bank regularly conducts
    7        business throughout the State of California; and Federal Savings Bank
    8        purposefully availed itself to California by having several calls placed to
    9        Plaintiff, who has a California area code assigned to the residential telephone
   10        line called by Federal Savings Bank’s authorized agent/s.
   11     6. FDE is subject to personal jurisdiction in the County of Orange, State of
   12        California, as FDE regularly conducts business throughout the State of
   13        California; and FDE purposefully availed itself to California by placing, for
   14        and on behalf of Federal Savings Bank, several calls to Plaintiff, who has a
   15        California area code assigned to the residential telephone line.
   16                                       PARTIES
   17     7. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
   18        the State of California. Plaintiff is, and at all times mentioned herein was, a
   19        “person,” as defined by 47 U.S.C. § 153(39).
   20     8. Plaintiff is informed and believes, and thereon alleges, that Federal Savings
   21        Bank is a corporation whose corporate headquarters is in Illinois, and is
   22        incorporated within Delaware.
   23     9. Plaintiff is informed and believes, and thereon alleges, that FDE is a limited
   24        liability company formed in Florida, with a principal place of business in
   25        Florida.
   26     10. Defendants, are and at all times mentioned herein were a “person,” as defined
   27        by 47 U.S.C. § 153(39).
   28     11. Plaintiff alleges that at all times relevant herein Defendants conducted
                                                -2-
                                 SECOND AMENDED COMPLAINT
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    1        business in the State of California and in the County of Orange, and within
    2        this judicial district.
    3                                  FACTUAL ALLEGATIONS
    4     12. Mr. Albrecht has never had any business relationship with Defendants.
    5     13. Mr. Albrecht’s landline telephone number ending “8750” was added to the
    6        National Do-Not-Call Registry on or about June 29, 2003.
    7     14. On or about March 13, 2019 at approximately 10:48 AM, Plaintiff received
    8        a call on his landline telephone number ending “8750” from the telephone
    9        number (619) 312-4785. Plaintiff did not recognize the telephone number
   10        and therefore did not answer the call.
   11     15. On or about March 14, 2019 at approximately 9:14 AM, Plaintiff received
   12        another call on the same phone number from the telephone number (619)
   13        312-4785. Again, as Plaintiff did not recognize the telephone number, he did
   14        not answer.
   15     16. On or about March 15, 2019 at approximately 9:48 AM, Plaintiff received
   16        another call on the same phone number from the telephone number (619)
   17        312-4785. Frustrated at having receiving repeated calls from that telephone
   18        number, Plaintiff answered the call.
   19     17. Plaintiff was greeted with a prerecorded voice stating:
   20
                    You have reached the program assistance department.
   21               You have called us when all operators are currently
   22               assisting other people. Please give your name, number,
                    time you called, and reference ID or analysis number. An
   23               agent will return your phone call to help you access your
   24               benefits. Please remember all programs and benefits are
                    time sensitive and need to be acquired and opened within
   25               five days of receiving your benefits statement or voucher.
   26
   27
          18. That call lasted approximately 30 seconds.

   28
          19. On or about March 16, 2019, Plaintiff received another call on the same
                                                -3-
                                   SECOND AMENDED COMPLAINT
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    1        phone number from the telephone number (619) 312-4785. Extremely
    2        annoyed and frustrated with the daily bombardment, Plaintiff answered the
    3        call again.
    4     20. After a long pause, an individual came on the line asking about mortgage
    5        refinancing and credit card consolidation. After a few questions, Plaintiff
    6        was transferred to “Yousuf” with “The Federal Savings Bank” in Scottsdale.
    7     21. Plaintiff informed Yousuf that Plaintiff did not have any outstanding debt,
    8        mortgage, or credit card debt. Additionally, Plaintiff requested that Yousuf
    9        place Plaintiff on his Do Not Call list, and never call Plaintiff again.
   10     22. That call lasted approximately 7 minutes and 29 seconds.
   11     23. Upon information and belief, the calls were placed from FDE to Plaintiff and
   12        several hundreds of other individuals nationwide within a short period of
   13        time.
   14     24. Upon information and belief, FDE was acting under the direction and control
   15        of Federal Savings Bank for the financial benefit of Federal Savings Bank.
   16     25. Upon information and belief, Federal Savings Bank instructed FDE as to the
   17        content of the prerecorded voice and timing of the sending of the calls, in an
   18        effort to increase the chance of reaching a consumer for marketing purposes.
   19     26. Upon information and belief, the calls were placed with an “artificial or
   20        prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(B).
   21     27. Plaintiff has never given Federal Savings Bank or FDE express consent to
   22        call Plaintiff’s telephone using a prerecorded voice or otherwise.
   23     28. Upon information and belief, FDE marketing purchased all of its leads in
   24        bulk.
   25     29. Through Defendants’ aforementioned conduct, Plaintiff suffered an invasion
   26        of a legally protected interest in privacy, which is specifically addressed and
   27        protected by the TCPA.
   28     30. Defendants’ calls forced Plaintiff and other similarly situated class members
                                                 -4-
                                  SECOND AMENDED COMPLAINT
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    1        to live without the utility of their telephone by occupying their telephone
    2        with one or more unwanted calls, causing a nuisance and lost time.
    3     31. The telephone number Federal Savings Bank called was assigned to a
    4        residential telephone line pursuant to 47 U.S.C. § 227(b)(1).
    5     32. The calls to Plaintiff were not for emergency purposes as defined by 47
    6        U.S.C. § 227(b)(1)(B).
    7     33. Defendants’ calls to Plaintiff’s landline telephone numbers were unsolicited
    8        by Plaintiff and were placed without Plaintiff’s prior express written
    9        consent.
   10     34. Upon information and belief, Defendants’ obtained Plaintiff’s telephone
   11        number from a third party and called that telephone number without first
   12        checking the National Do-Not-Call Registry for a list of telephone numbers
   13        of persons who have expressed they do not want to receive telemarketing
   14        communications on their telephone.
   15     35. Upon information and belief, Defendants failed to establish or implement
   16        reasonable policies and procedures to effectively prevent telephone
   17        solicitations in violation of the regulations prescribed under 47 C.F.R. §
   18        64.1200(c).
   19
   20                         CLASS ACTION ALLEGATIONS
   21     36. Plaintiff bring this action on behalf of himself and on behalf of Members of
   22        the proposed Classes pursuant to Federal Rules of Civil Procedure 23(a) and
   23        (b)(3) and/or (b)(2).
   24     37. Plaintiff proposes to represent the following Automated Call Class
   25        consisting of and defined as follows:
   26
                   All persons within the United States who received a call
   27              from Defendants, or their agent(s) and/or employee(s),
   28              using an artificial or prerecorded voice, not for an
                                               -5-
                                 SECOND AMENDED COMPLAINT
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    1               emergency purpose, between May 1, 2014 and May 1,
    2               2019.

    3
          38. Plaintiff also proposes to represent the following National Do-Not-Call
    4
             Registry Class consisting of and defined as follows:
    5
    6               All persons within the United States whose telephone
    7               numbers were registered on the National Do-Not-Call
                    Registry for at least 30 days, who received more than one
    8               call made by Defendants, or their agent(s) and/or
    9               employee(s), to promote a product or service, within any
                    twelve-month period, between May 1, 2014 and May 1,
   10               2019.
   11
   12     39. The Automated Call Class and the National Do-Not-Call Registry Class
   13        together are referred to as the Classes.
   14     40. Defendants and their employees or agents are excluded from the Classes.
   15        Plaintiff does not know the number of members in the Classes, but believes
   16        the Class members number in the several thousands, if not more. Thus, this
   17        matter should be certified as a Class action to assist in the expeditious
   18        litigation of this matter.
   19     41. Plaintiff and members of the Automated Call Class were harmed by the acts
   20        of Defendants in at least the following ways: Defendants illegally contacted
   21        Plaintiff and the Class members using artificial or prerecorded voice
   22        messages, thereby invading the privacy of said Plaintiff and the Class
   23        members. Plaintiff and the Class members were damaged thereby.
   24     42. Plaintiff and members of the National Do-Not-Call Registry Class were
   25        harmed by the acts of Defendants in at least the following ways: Defendants
   26        illegally contacted Plaintiff and the Class members multiple times on their
   27        telephones for marketing purposes, despite those telephone numbers having
   28
                                                 -6-
                                  SECOND AMENDED COMPLAINT
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    1        been placed on the National Do-Not-Call Registry for at least 30 days,
    2        thereby invading the privacy of said Plaintiff and the Class members.
    3        Plaintiff and the Class members were damaged thereby.
    4     43. This suit seeks only damages and injunctive relief for recovery of economic
    5        injury on behalf of the Classes and it expressly is not intended to request any
    6        recovery for personal injury and claims related thereto. Plaintiff reserve the
    7        right to expand the Class definitions to seek recovery on behalf of additional
    8        persons as warranted as facts are learned in further investigation and
    9        discovery.
   10     44. The joinder of the Class members is impractical and the disposition of their
   11        claims in the Class action will provide substantial benefits both to the parties
   12        and to the court. Upon information and belief, the Classes can be identified
   13        through Federal Savings Bank’s records or FDE’s records.
   14     45. There is a well-defined community of interest in the questions of law and
   15        fact involved affecting the parties to be represented. The questions of law
   16        and fact to the Classes predominate over questions which may affect
   17        individual Class members, including the following:
   18           a. Whether during the proposed class period Federal Savings Bank or
   19              FDE placed artificial or prerecorded voice messages to the Class
   20              (other than a message made for emergency purposes and made
   21              without the prior express consent of the called party) to any telephone
   22              number assigned to a residential telephone service or cellular
   23              telephone service;
   24           b. Whether the calls were placed for telemarketing purposes;
   25           c. Whether Plaintiff and the Class members had their telephone numbers
   26              registered on the National Do-Not-Call Registry for at least 30 days;
   27           d. Whether the Plaintiff and the Class members has any established
   28              business relationship with Defendants prior the calls;
                                                -7-
                                 SECOND AMENDED COMPLAINT
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    1           e. Whether Plaintiff and the Class members were damaged thereby, and
    2              the extent of damages for such violation; and
    3           f. Whether Federal Savings Bank and FDE should be enjoined from
    4              engaging in such conduct in the future.
    5     46. As a person that received at least one marketing call using an artificial or
    6        prerecorded voice message to his residential telephone line without
    7        Plaintiff’s prior express written consent and for other than emergency
    8        purposes, Plaintiff is asserting claims that are typical of the Classes. Plaintiff
    9        will fairly and adequately represent and protect the interests of the Class in
   10        that Plaintiff has no interests antagonistic to any member of the Class.
   11     47. Plaintiff and the members of the Classes have all suffered irreparable harm
   12        as a result of the Defendants’ unlawful and wrongful conduct. Absent a
   13        class action, the Class will continue to face the potential for irreparable
   14        harm. In addition, these violations of law will be allowed to proceed without
   15        remedy and Defendants will likely continue such illegal conduct. Because of
   16        the size of the individual Class member’s claims, few, if any, Class members
   17        could afford to seek legal redress for the wrongs complained of herein.
   18     48. Plaintiff has retained counsel experienced in handling class action claims
   19        and claims involving violations of the Telephone Consumer Protection Act.
   20     49. A class action is a superior method for the fair and efficient adjudication of
   21        this controversy. Class-wide damages are essential to induce Defendants to
   22        comply with federal and California law. The interest of Class members in
   23        individually controlling the prosecution of separate claims against
   24        Defendants is small because the maximum statutory damages in an
   25        individual action for violation of privacy are minimal. Management of these
   26        claims is likely to present significantly fewer difficulties than those
   27        presented in many class claims.
   28     50. Defendants have acted on grounds generally applicable to the Classes,
                                                 -8-
                                  SECOND AMENDED COMPLAINT
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    1         thereby making appropriate final injunctive relief and corresponding
    2         declaratory relief with respect to the Classes as a whole.
    3
                               FIRST CAUSE OF ACTION
    4                       NEGLIGENT VIOLATIONS OF THE
    5                   TELEPHONE CONSUMER PROTECTION ACT
                                   47 U.S.C. § 227(b)
    6
           51. Plaintiff incorporate by reference all of the above paragraphs of this First
    7
              Amended Complaint as though fully stated herein.
    8
           52. Defendants’ repeated calls in a span of several days to Plaintiff’s telephone
    9
              without any prior express consent—and even with an artificial or
   10
              prerecorded voice—constitutes a negligent violation of the TCPA, including
   11
              but not limited to each and every one of the above-cited provisions of 47
   12
              U.S.C. § 227, et seq.
   13
           53. As a result of Defendants’ negligent violations of 47 U.S.C. § 227, et seq.,
   14
              Plaintiff and the Class are entitled to an award of $500.00 in statutory
   15
              damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
   16
           54. Plaintiff and the Class are also entitled to and seek injunctive relief
   17
              prohibiting such conduct in the future.
   18
   19                        SECOND CAUSE OF ACTION
   20               KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                      TELEPHONE CONSUMER PROTECTION ACT
   21                            47 U.S.C. § 227(b)
   22      55. Plaintiff incorporates by reference all of the above paragraphs of this First
   23         Amended Complaint as though fully stated herein.
   24      56. Defendants made repeated telephone calls to Plaintiff’s telephones without
   25         being in any business relationship or contract.
   26      57. Some of these calls included an artificial or prerecorded voice.
   27      58. Defendants’ actions constitute numerous and multiple knowing and/or
   28
                                                 -9-
                                  SECOND AMENDED COMPLAINT
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    1         willful violations of the TCPA, including, but not limited to, each and every
    2         one of the above-cited provisions of 47 U.S.C. § 227, et seq.
    3      59. As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. §
    4         227, et seq., Plaintiff and each of the Class members are entitled to treble
    5         damages, as provided by statute, of $1,500.00, for each and every violation,
    6         pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
    7      60. Plaintiff and the Class members are also entitled to and seek injunctive relief
    8         prohibiting such conduct in the future.
    9
                               THIRD CAUSE OF ACTION
   10                       NEGLIGENT VIOLATIONS OF THE
   11                   TELEPHONE CONSUMER PROTECTION ACT
                                   47 U.S.C. § 227(c)
   12
           61. Plaintiff incorporate by reference all of the above paragraphs of this First
   13
              Amended Complaint as though fully stated herein.
   14
           62. Defendants’ actions constitute numerous and multiple negligent violations
   15
              of the TCPA, including, but not limited to, each and every one of the above-
   16
              cited provisions of 47 U.S.C. § 227(c).
   17
           63. As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. §
   18
              227(c), Plaintiff and each of the National Do-Not-Call Registry Class
   19
              members are entitled to damages, as provided by statute, up to $500.00, for
   20
              each and every violation, pursuant to 47 U.S.C. § 227(c)(5) and 47 C.F.R. §
   21
              64.1200(c).
   22
           64. Plaintiff and the Class are also entitled to and seek injunctive relief
   23
              prohibiting such conduct in the future, pursuant to 47 U.S.C. § 227(c)(5)(A).
   24
   25
   26
   27
   28
                                                 -10-
                                  SECOND AMENDED COMPLAINT
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    1                        FOURTH CAUSE OF ACTION
    2               KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                      TELEPHONE CONSUMER PROTECTION ACT
    3                            47 U.S.C. § 227(c)
    4      65. Plaintiff incorporates by reference all of the above paragraphs of this First
    5         Amended Complaint as though fully stated herein.
    6      66. Defendants made repeated telephone calls to Plaintiff’s telephones without
    7         being in any business relationship or contract, for telemarketing marketing
    8         purposes.
    9      67. Defendants’ actions constitute numerous and multiple knowing and/or
   10         willful violations of the TCPA, including, but not limited to, each and every
   11         one of the above-cited provisions of 47 U.S.C. § 227(c).
   12      68. As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. §
   13         227(c), Plaintiff and each of the National Do-Not-Call Registry Class
   14         members are entitled to treble damages, as provided by statute, up to
   15         $1,500.00, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)
   16         and 47 C.F.R. § 64.1200(c).
   17      69. Plaintiff and the Class members are also entitled to and seek injunctive relief
   18         prohibiting such conduct in the future, pursuant to 47 U.S.C. § 227(c)(5)(A).
   19
   20                                   PRAYER FOR RELIEF
   21      70. Wherefore, Plaintiff respectfully request the Court to grant Plaintiff and the
   22         Class members the following relief against Federal Savings Bank and FDE
   23         Marketing Group, and each of them:
   24
   25        FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF

   26                            THE TCPA, 47 U.S.C. § 227(b)

   27            • As a result of Defendants’ negligent violations of 47 U.S.C. §
   28
                                                 -11-
                                  SECOND AMENDED COMPLAINT
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    1               227(b)(1)(B), Plaintiff seeks for himself and each Class member
    2               $500.00 in statutory damages, for each and every violation, pursuant
    3               to 47 U.S.C. § 227(b)(3)(B);
    4            • Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief
    5               prohibiting such conduct in the future;
    6            • Costs of suit;
    7            • Prejudgment interest;
    8            • Reasonable attorneys’ fees pursuant to, inter alia, the common fund
    9               doctrine;
   10            • Any other relief the Court may deem just and proper.
   11
   12        SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
   13                   VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)
   14
                 • As a result of Defendants’ willful and/or knowing violations of 47
   15
                    U.S.C. § 227(b)(1)(B), Plaintiff seeks for himself and each Class
   16
                    member treble damages, as provided by statute, up to $1,500.00 for
   17
                    each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
   18
                    U.S.C. § 227(b)(3)(C);
   19
                 • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
   20
                    such conduct in the future;
   21
                 • Costs of suit;
   22
                 • Prejudgment interest;
   23
                 • Reasonable attorneys’ fees pursuant to, inter alia, the common fund
   24
                    doctrine.
   25
   26
   27
   28
                                                  -12-
                                    SECOND AMENDED COMPLAINT
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    1        THIRD CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
    2                             THE TCPA, 47 U.S.C. § 227(c)
    3
                 • As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c),
    4
                    Plaintiff seeks for himself and each Class member $500.00 in
    5
                    statutory damages, for each and every violation, pursuant to 47 U.S.C.
    6
                    § 227(c)(5) and 47 C.F.R. § 64.1200(c);
    7
                 • Pursuant to 47 U.S.C. § 227(c)(5)(A), Plaintiff seeks injunctive relief
    8
                    prohibiting such conduct in the future;
    9
                 • Costs of suit;
   10
                 • Prejudgment interest;
   11
                 • Reasonable attorneys’ fees pursuant to, inter alia, the common fund
   12
                    doctrine;
   13
                 • Any other relief the Court may deem just and proper.
   14
   15
             FOURTH CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
   16
                        VIOLATION OF THE TCPA, 47 U.S.C. § 227(c)
   17
                 • As a result of Defendants’ willful and/or knowing violations of 47
   18
                    U.S.C. § 227(c), Plaintiff seeks for himself and each Class member
   19
                    treble damages, as provided by statute, up to $1,500.00 for each and
   20
                    every violation, pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. §
   21
                    64.1200(c);
   22
                 • Pursuant to 47 U.S.C. § 227(c)(5)(A), injunctive relief prohibiting
   23
                    such conduct in the future;
   24
                 • Costs of suit;
   25
                 • Prejudgment interest;
   26
                 • Reasonable attorneys’ fees pursuant to, inter alia, the common fund
   27
                    doctrine.
   28
                                                  -13-
                                    SECOND AMENDED COMPLAINT
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    1
                                           TRIAL BY JURY
    2
           71. Pursuant to the seventh amendment to the Constitution of the United States
    3
              of America, Plaintiff and the Classes are entitled to, and demand, a trial by
    4
              jury.
    5
    6
    7
        Dated: February 6, 2020
                                                   KAZEROUNI LAW GROUP, APC
    8
    9                                              By /s/ Abbas Kazerounian
                                                     Abbas Kazerounian, Esq.
   10                                                Attorneys for Plaintiff,
   11                                                Peter Albrecht

   12
   13
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                                  SECOND AMENDED COMPLAINT
